 

Case 1:13-cv-01757-RDB Document 8 Filed 09/03/13 Page 1 of 1
Case 1:13-cv-01757-RDB Document 7 Filed 08/29/13 Page 1of1

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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
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QUINTEN JACKSON ao fe
PLAINTIFF AE
VS. | RDB 13 CV 1757

NATIONWIDE CREDIT CORPORATION

DEFENDANT

STIPULATION OF DISMISSAL
The parties stipulate that the above matter be dismissed with prejudice in accordance with

Federal Rule of Civil Procedure 41(a)(A)(ii).

 

 

Respectfully Submitted, -
LY? . Ub /S/ SCOTT T. WHITEMAN
teptln. AC |
Quinten Jackso Scott T. Whiteman, MD#27769
1611 Baker Stréet FULTON FRIEDMAN & GULLACE LLP
Baltimore, MD 21217 7350 Grace Drive
Plaintiff Columbia, MD 21044

Counsel for Defendant

CERTIFICATE OF SERVICE
I certify that a copy or the foregoing was mailed to the above Plaintiff on August 22, 2013.

{S/ SCOTT T. WHITEMAN

 

Scott T, Whiteman, MD#27769

| Request Granted this 3rd Day of September 2013

Richard D. Bennett

United States District Judge

 
